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lN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF IOWA

 

 

 

 

CENTRAL DIVISION
JOHN DOE,
No. 4:17-cv-079-RGE-SBJ'
Plaintiff,
vs.
GRINNELL COLLEGE, SARAH DEFENDANTS’ RESISTANCE TO
MOSCHENROSS, ANGELA VOOS, and PLAINTIFF’S RULE 56(d) MOTION
BAlLEY ASBERRY,
Defendants.
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Introduction

Rule 56(d) motions are “not designed to give relief to those Who sleep on their rights.”
Rivera-Torres v. Ray-Hernandez, 502 F.3d 7, 10 (lst Cir. 2007). Yet, that is precisely What
Plaintiff attempts. The two discovery items he claims as a basis for his motion Were served after
discovery had been open for nearly a year, and shortly before it closed. Plaintiff s lack of
diligence defeats his ability to obtain Rule 56(d) relief. Additionally, Plaintiff has already
explored the topics at issue in his discovery requests, and his effort to take additional discovery
into the same topic to see What else he may find amounts to nothing more than a fishing
expedition His Rule 56(d) Motion (docket no. 105) should be denied

I. Procedural Background.

On l\/Iarch 2, 2017, Plaintiff filed his Complaint (docket no. 1). According to the trial
scheduling order entered September 20, 2017 (docket no. 50), discovery Was to be completed by
no later than August 31, 2018. _The Court amended the deadline, at plaintiff s request, to
September 7, 2018 (docket no. 67). See docket no. 68. The dispositive motions deadline Was
October 5, 2018. See id.

A. Despite having identified his OCR pressure theory prior to initiating this

case, Plaintiff Waited sixteen months to serve a subpoena on OCR requesting
documents.

On July 17, 2018, ten months into discovery, Plaintiff subpoenaed the Office for Civil
Rights (“OCR”). The OCR had previously investigated Grinnell following a complaint that
issued before Plaintiff’ s enrollment at Grinnell. Plaintiff sought documents from OCR to support
his theory that the OCR somehow induced Grinnell to engage in gender-based discrimination, or
that Grinnell experienced “pressure” to reach biased outcomes due to the OCR’s. The subpoena
is currently the subject of the Department of Education’s (“DOE”) filed a Motion to Quash

(docket no. 80).

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Through his subpoena to OCR, Plaintiff sought, among other things, documents relating
to OCR’s decision to corrunence the Grinnell investigation, changes that Grinnell made to its
Title IX policy and procedures due to the OCR’s investigation, internal documents
memorializing interviews that OCR officials conducted during its investigation, and other
documents See Rule 56(d) Motion at 5.

This is a theory Plaintiff identified at the inception of his case. See Cmplt. at 1111 25-29.
Plaintiff offered no explanation for why he waited until the eleventh hour to make this request
from OCR.

B. Despite having identified his “pattern” of discrimination theory prior to

initiating case, Plaintiff waited until the last possible date to serve a timely
written request related to this theory.

On August 1, 2018, the last possible date to timely serve a written discovery request,
Plaintiff served a discovery request for “copies of all Opinions issued by Marsha Ternus with
respect to sexual misconduct cases that Were formally investigated at Grinnell College and any
accompanying reports by Ms. Ternus Which recommended sanctions[.]” A copy of Plaintiff’s
Fourth Request for Production of Documents is attached as Exhibit A. On October 3, 2018, this
Court granted Plaintiff’s Motion to Compel, providing twenty-one days for Defendants to notify
students that records may be disclosed See Order (docket no. 107). Defendants did not resist this
motion.

C. Defendants’ motion for summary judgment identifies the theories Plaintiff

alleged in his Complaint over a year ago, and for Which he had ample time
for discovery.

On September 26, 2018, several Weeks after the close of discovery, Defendants filed their
Motion for Summary Judgment. See docket nos. 94, 94-1, 94-2, 99, 100. ln their l\/Iotion,
Defendants seek summary judgment on all remaining claims in this case, including Plaintiff’s

Title IX claim. Plaintiff only identifies the Title IX claim as a basis for relief in the instant

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Motion_he does not argue that he needs an extension to resist any other claim subject to
Defendants’ summary judgment motion. Motion (docket no. 105) at 1111 15-22.

To defeat Defendants’ motion on the Title IX claim, Plaintiff must generate an issue of
fact that suggests Grinnell erroneously found him responsible for sexual misconduct based on
intentional sex discrimination See Brief at 2-3. From the outset of this case, Plaintiff has alleged
throughout this litigation that multiple sources of evidence suggest sex bias, including alleged
“pressure” from the OCR, and that Grinnell, through Justice Ternus, has engaged in a pattern of
decision-making that is biased against male students. See Compl. 1111 25-29; 62-64.

Knowing that these very theories were what Plaintiff was counting on to support his
claim of sex bias, Plaintiff has had ample opportunity to conduct discovery on these issues. I-Ie
has done so. His effort to take additional discovery at the eleventh hour is not a basis for relief
under Rule 56(f).

II. Rule 56(d) applies when a party has not had adequate time for discovery, but
Plaintiff had the full benefit of discovery for nearly a year before it closed.

Generally, “summary judgment is proper ‘only after the nonmovant has had adequate
time for discovery.”’ Toben v. Bridgestone Retaz'l Operations, LLC, 751 F.3d 888, 894 (8th Cir.
2014) (quoting Hamilton v. Bangs, McCullen, Butler, Foye & Simmons, LLP, 687 F.3d 1045,
1049 (8th Cir. 2012)). To this end, Federal Rule of Civil Procedure 56(d)l “exists to prevent a
party from being unfairly thrown out of court by a premature motion for summary judgment.” Ia’.
(quoting Hamilton, 687 F.3d at 1050).

In order to be successful on a Rule 56(d) motion, “the party opposing summary judgment

 

l In the 2010 amendments to the Federal Rules of Civil Procedure, former Rule 56(f) Was “recodified” as Rule
56(d), though the two provisions operate in substantively similar manners. See Chambers v. Travelers Cos., Inc.,
668 F.3d 559, 568 (8th Cir. 2012).

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must file an affidavit ‘affirlnatively demonstrating . . . how postponement of a ruling on the
motion will enable him, by discovery or other means, to rebut the movant’s showing of the
absence of a genuine issue of fact.”’ Id. (alteration in original) (quoting Ray v. Am. Airlz'nes, Inc.,
609 F.3d 917, 923 (8th Cir. 2010)); See also Pony Computer, Inc. v. Equus Computer Sys. of
Mo., [nc., 162 F.3d 991, 996 (8th Cir. 1998) (“Absent . . . a showing [that discovery has been
inadequate], summary judgment is appropriate despite incomplete discovery.”). This affidavit
must include: “(1) . . . the specific facts [the nonmoving party] hope[s] to elicit from further
discovery, (2) that the facts sought exist, and (3) that these sought-after facts are ‘essential’ to
resist the summary judgment motion.” Id. at 895 (quoting State of Cal., on Behalf of Cal. Dep ’t
of T Oxic Subs. Control v. Campbell, 138 F.3d 772, 779 (9th Cir. 1998)). ln other words, the
affidavit must “identify specific facts that discovery might uncover and show how those facts
would rebut [the movant’s] showing of the absence of genuine issues of material fact.”
Chambers v. Travelers Cos., Inc., 668 F.3d 559, 568 (8th Cir. 2012). An affidavit Which merely
states that the “additional discovery Will further bolster and support plaintiff s claims and raise
additional disputed facts that would defeat defendant’s motion” is insufficient Hamilz‘on v.
Bangs, McCullen, Butler, Foye & Simmons, LLP, 687 F.3d 1045, 1050 (8th Cir. 2012).

The moving party “must explain ‘with some precision’ what materials the party seeks to
procure through additional discovery and how the information acquired will help the party
oppose summary judgment.” Nat ’l Sur. Corp. v. Dustex Corp., 291 F.R.D. 321, 328 (N.D. Iowa
2013); see also Stanback v. Best Dz`versifiea' Proa’S., Inc. , 120 F.3d 903, 911 (8th Cir. 1999)
(noting that a Rule 56(d) affidavit cannot rely on “sheer speculation” as to the facts to be

discovered); Equal Emp ’t Opporz‘unz`ly Comm ’n v. Am. Home Prods. Corp., 199 F.R.D. 620, 631

(N.D. lowa 2001) (denying a Rule 56(d) motion because the declaration was couched only in

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“conclusory assertions of the inferences counsel expects a trier of fact Will be able to draw”).

“It is Well settled that Rule 56(d) does not condone a fishing expedition where plaintiff
merely hopes to uncover some plausible evidence of unlawful conduct.” Toben, 751 F.3d at 894
(internal quotation marks and alterations omitted) (quoting Du/jj) v. Wolle, 123 F.3d 10267 1041
(8th Cir. 1997), abrogated on other grounds by Torgerson v. Cizy of Rochester, 643 F.3d 1031
(8th Cir. 2011)). Additionally, “Rule 56[(d)] ‘is not a shield that can be raised to block a motion
for summary judgment Without even the slightest showing by the opposing party that his
opposition is meritorious.”’ Hamz'lton, 687 F.3d at 1050 (internal quotation marks omitted)
(quoting Humphreys v. Roche Biomedical Labs., Inc., 990 F.2d 1087, 1081 (8th Cir. 1993)).

Finally, Rule 56(d) motions are “not designed to give relief to those who sleep on their
rights.” Rivera-Torres, 502 F.3d at 10. “To make use of Rule 56(d), a party must demonstrate
good cause for failure to have conducted the discovery earlier.” Rivera-Almoa'ovar v. Instituto
Socioeconomico Comunz`tarz`o, Inc. , 730 F.3d 23, 29 (lst Cir. 2013) (citation and internal
quotation marks omitted).

III. Plaintiff’s request is inappropriate in light of his lack of diligence.

Plaintiff’s Rule 56(d) l\/lotion is inappropriate in light of his lack of diligence to serve the
discovery at issue in this motion prior to the last few weeks of discovery in this case. Rule 56(d)
“is not designed to give relief to those Who sleep on their rights.” Rivera-Torres, 502 F.3d at 10.
Discovery Was open for nearly a year. Plaintiff waited to serve the OCR subpoena and request
for the Ternus opinions until the last six weeks and thirty days, respectively, of discovery.
Plaintiff` s lack of diligence on this issue alone justifies denial of his motion. See Rivera-
Almoa’ovar, 730 F.3d at 29 (plaintiff’s last-minute service of discovery was insufficient to justify
Rule 56(d) motion)', see also Stough v. Cona'ucz‘ive Techs., Inc., 613 F. App’x 145, 148 (3d Cir.

2015) (holding plaintiff s service of written discovery requests one day before deadline of

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service Was too tardy to justify a Rule 56(d) continuance).

Plaintiff has had the opportunity to make multiple requests for production of documents,
has propounded interrogatories, and deposed or defended eight depositions, including a Rule
30(b)(6) deposition for the college. At the outset of discovery, Plaintiff served fifty-three
document requests on Defendants, to which Defendants responded A copy of Plaintiff’s First
Request for Production of Documents is attached as Exhibit B. Knowing what his theories of sex
bias Were from the outset of the case, Plaintiff has no excuse for failing to take full advantage of
discovery on these issues earlier than he did. Discovery has now closed, and Plaintiff seeks to
delay the adjudication of summary judgment by seeking documents that he could have requested
or subpoenaed months ago. lndeed, Plaintiff admits in his Motion that discovery had been
completed “for the most part” by the discovery deadline Motion 11 6.

“In analyzing Whether a claim is ripe for summary judgment, a district court has
discretion to determine whether the parties have had adequate time for discovery . . . .” Stanback,
120 F.3d at 910; see also Pony Computer, 162 F.3d at 996 (8th Cir. 1998) (noting that Where
parties had a year to conduct discovery, the Rule 56(d) motion was properly denied); Roe v. St.
Louz`s Univ., 746 F.3d 874, 887 (8th Cir. 2014) (a discovery period of fifteen months with
multiple extensions Was a factor in denying a Rule 56(d) motion). Additionally, courts consider
whether the discovery deadline has been extended to accommodate further discovery. See
Stanbac/c, 120 F.3d at 911. Here, both of these factors weigh against granting Plaintiffs Rule
56(d) Motion.ln short, if the Court granted Defendants’ motion for summary judgment, Plaintiff
would have no basis to argue that he Was "unfairly thrown out of court by a premature motion for
summaryjudgment.” Toben, 751 F.3d at 1984.

Whatever the outer limits of Rule 56(d), Plaintiff cannot wield it as a sword to delay

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adjudication of a timely motion for summary judgment merely because he suspects that more
information helpful to his case may be available Cf. Harnilton, 687 F.3d at 1050. Courts within
the Eighth Circuit recognize this most basic principle of trial management and have denied Rule
56(d) motions for discovery in cases where a plaintiff has had much less an opportunity for
discovery than Plaintiff. See, e.g., Johnson v. ADP Screening & Seleciion Ser'vs,, lnc., 786 F.
Supp. 2d 979, 982 (D. Minn. 2011) (denying motion to delay summary judgment determination
because plaintiff waited over three months after scheduling order to seek salient discovery). A
similar result is appropriate here.

IV. Plaintiff’s affidavit is insufficient because it is conclusory, speculative, and fails to
identify how the information sought will generate issues of material fact.

The declaration that Plaintiff’s counsel submitted is conclusory and too speculative to
justify Rule 56(d) relief. Plaintiff’s counsel concludes that the Temus Opinions “are directly
relevant to” the issue of whether there is a “pattern of bias” and “rnay constitute additional
evidence in support of Plaintiff" s arguments in support of his Title lX claim, more specifically
that a pattern of decision making existed Which was influenced by gender.” Declaration of Kara
L. Gorycki (docket no. 105-1) (“Declaration”) 1111 13, 14 (emphasis added). Plaintiff s counsel
also alleges that she believes the Ternus Opinions “could demonstrate a pattern of decision
making with respect to Justice Ternus as well as Grinnell, depending on how her opinions and
reports align with the ultimate outcome in a given case,” and “whether gender bias influenced
other outcomes. Id. (Emphasis added.) Plaintiff stresses that, “depending on how [Justice
Temus’s] opinions and reports align with the outcome in a given case,” they might shed light on
his alleged pattern of biased outcomes. Id. 11 15 (emphasis added).

With respect to the documents requested from the OCR, Plaintiff’s Rule 56(d) declaration

states that such documents “may provide additional evidence of pressure on Grinnell to conform

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its policies or procedures to the OCR investigation, or memorialize statements made by Grinnell
employees or others involved in the investigation that indicate gender bias.” Id. 11 19 (emphasis
added).

The Declaration reveals Plaintiffs basis for Rule 56(d) relief is too speculative
Affidavits submitted in support of Rule 56(d) motions “must explain ‘with some precision’ . . .
how the information acquired Will help the party oppose summary judgment.” Dusz‘ex Corp., 291
F.R.D. at 328. And mere speculation as to what the party may find is insufficient to warrant
delay of the adjudication of a timely motion for summary judgment. See Sianback, 120 F.3d at
911. Yet, this is precisely the deficiency from which the Declaration suffers. Rather than explain
how the sought-after documents will support his resistance to Defendants’ allegations that no
evidence of gender-bias cxists, Plaintiff makes the conclusory statements that such documents
“may” provide “additional” evidence that Grinnell was under pressure to “conform its policies or
procedures” to the OCR’s investigation or that a biased pattern of` decision-making existed.
Declaration 1111 13-15, 19.

Besides the fact that Plaintiff has not clearly articulated why this evidence is salient to
resist the summary judgment motion, Plaintiff has further admitted that he is generally seeking to
cast a wide net to potentially catch “memorialized statements made by Grinnell employees or
others involved in the investigation that indicate gender bias” and “evidence of the
decisionmaking process that [Justice] Ternus engaged in, the underlying facts and what sanctions
Justice Ternus actually recommended in a given case.” Declaration 1111 13-15, 19. He does not
explain how these documents Will permit him to respond to Defendants’ allegations in their
motion for summary judgment Cases are clear, moreover, that this type of fishing expedition is

improper under Rule 56(d). Toben, 751 F.3d at 894.

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Additionally, for the reasons stated below, Plaintiff has had ample opportunity to conduct
discovery into these areas and, in fact, has conducted discovery sufficient to respond to the
allegations in Defendants’ motion for summary judgment Presumably, this is Why Plaintiff
believes the information he seeks now is in “addition” to other alleged evidence of
discrimination in his possession See Gorycki Dec. 1111 13-15. As such, any additional delay based
on Plaintiff’s Rule 56(d) Motion would be simply to permit Plaintiff to gather and submit
cumulative evidence This is improper under Rule 56(d)_merely stating the “additional
discovery Will further bolster and support plaintiffs claims and raise additional disputed facts
that would defeat defendant’s motion” is insufficient Hamilton, 687 F.3d at 1050.

A. Plaintiff’s request for the OCR investigation materials is unnecessary in light
of the extensive discovery conducted already.

ln his First Set of Requests for Production of Documents, Plaintiff requested the
following categories of documents in his Request Nos. 2, 3, and 5 , respectively:
0 “All documents and communications concerning Defendants’ interactions
and/or communications with the United States Department of Education

Office for Civil Rights from January 1, 2011 to the present date”;

0 “All documents and communications concerning the investigation of Grinnell
commenced by the Office for Civil Rights on July 22, 2015”; and

0 “All documents and communications concerning Grinnell's request to the

Office for Civil Rights in or about March 2015 that the Office for Civil Rights
investigate its handling of sexual misconduct cases.”

See Exhibit B. ln response to these collective requests, Defendants produced 6,915 pages of
documents See Supplemental Response to Plaintiff’s First Request for Production of Documents
(docket no. 86-2).

Plaintiff also took a Rule 30(b)(6) deposition, at which Angela Voos was designated as
Grinnell’s representative Excerpts of the 30(b)(6) Deposition are attached as Exhibit C. At the

30(b)(6) deposition, Plaintiff questioned Grinnell extensively about its dealings with OCR,

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including: (1) its request for technical assistance from the OCR in response to an article about
Grinnell’s sexual misconduct policies appearing in the Huffington Post, see Exhibit C at 2, 6
[30(b)(6) Dep. 58:11-60:22; 75:25-76:4]; (2) Grinnell’s stance on the OCR’s Dear Colleague
letter and Grinnell’s attempts to align its sexual misconduct policies with the guidelines set forth
in the Dear Colleague letter, see id. at 3-6 [30(b)(6) Dep. 62:14-75:24]; and (3) Grinnell’s
response to the OCR investigation that is apparently the subject of its subpoena currently
pending with the OCR, see id. at 6-8 [30(b)(6) Dep. 76:5-81:19].

During this deposition, Plaintiff engaged in the following line of questioning:

Q. ln response to the commencement of the OCR investigation did Grinnell
implement any sexual misconduct policy revisions?

A. No. Sorry. Directly in response to getting this letter, did we change
our policy, you’re asking? T he answer is no.

Id. at 7 [30(b)(6) Dep. 80:2-7] (formatting in original). Plaintiff could have, but did not, engage
in any further questioning about any other communications Grinnell had with OCR, and did not
delve into questions regarding any “pressures” Grinnell might have felt to reach biased outcomes
due to the OCR investigation

In Voos’s separate fact-witness deposition, Plaintiff asked Voos about her involvement
and communications with the OCR, both with respect to President Kington’s request to the OCR
for technical guidance, and the subsequent investigation by the OCR. Excerpts from Voos’s
deposition are attached as Exhibit D. See, e.g., Exhibit D at 2-3, 5, 7 [Voos Dep. 33:9-34:14;
38:13-20; 47:20-51:2; 87:14-88:7]. Similarly, in Asberry’s deposition, excerpts of which are
attached as Exhibit E, Plaintiff asked about the role of the OCR and its Dear Colleague letter in
shaping Grinnell’s policies, President Kington’s request to the OCR for technical guidance, and

the OCR investigation See, e.g., Exhibit E at 3-5 [Asberry Dep. 52:11-59:10]. ln Moschenross’s

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deposition, excerpts of which are attached as Exhibit F, Plaintiff asked about her involvement
with the OCR investigation See, e.g., Exhibit F at 7-8 [Moschenross Dep. 156:10-157:61.
Notably, in none of these lines of questioning, even though some explicitly pertained to
communications with and involvement in the OCR’s investigation and even changes to
Grinnell’s sexual misconduct policy as a result of OCR guidance, did Plaintiff engage in
extensive questioning about whether Grinnell felt “pressured” to reach certain outcomes He
offers no reason why he failed to do so in the instant motion

lnstead, Plaintiff served an eleventh hour subpoena on the DOE requesting documents
that have already largely been produced by Grinnell. Nevertheless, considering the extensive
documentation Defendants have provided to Plaintiff regarding the OCR, and deposition
testimony from Grinnell personnel, Plaintiff has more than adequate factual basis to admit or
attempt to contradict Defendant’s statements about alleged pressure OCR exerted over Grinnell
in the Motion for Summary Judgment What Plaintiff cannot do is embark on a fishing
expedition for speculative statements in the OCR’s documents that may or may not contradict the
established facts

B. Plaintiff fails to explain how the Ternus Opinions are probative of evidence

of gender bias, and omits that he had a full and fair opportunity to conduct
discovery of alleged bias by Ternus.

Plaintiff fails to elaborate on exactly how receipt of Justice Ternus’s prior conduct
adjudication decisions and sanctions recommendations will provide evidence of gender bias As
explained more fully in Defendants’ motion for summary judgment merely citing statistical
evidence of whether Grinnell has processed more sexual misconduct claims against male
respondents than female respondents, or other such similar quantitative evidence, is insufficient
to establish gender bias and defeat summary judgment See Brief in Support of Motion for

Summary Judgment at 20-21. l\/Ioreover, Plaintiff does not explain, nor can he, how exactly

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evidence of how Justice Ternus makes decisions and sanctions recommendations will
demonstrate gender bias Plaintiff hasn’t explained how the other Ternus Opinions would reveal
in any meaningful way whether the conduct process at Grinnell is biased against males His
conclusory statements that this information will provide such evidence is insufficient under Rule
56(d).

Perhaps more important, Plaintiff engaged in meaningful discovery of Justice Ternus and
her decision-making process For example, Plaintiff asked Justice Ternus at her deposition about
being hired to serve as the adjudicator for Grinnell’s conduct proceedings Excerpts from Justice
Ternus’s deposition are attached as Exhibit G. See Exhibit G at 3-4 [Temus Dep. 19:14-21:11].
Plaintiff also discussed Justice Ternus’s training as adjudicator with her at her deposition See id.
at 4-8 [Ternus Dep. 23 :8-37:8]. Plaintiff also asked about whether Justice Ternus had
preconceptions of the standards and training presented to her as an adjudicator based on her
previous position as an lowa Supreme Court Justice See id. at 5-7 [Ternus Dep. 28:16-24; 31:24-
32:21; 35:8-111. Plaintiff questioned Justice Ternus about what he perceived as bias in the
credibility determinations she made with respect to John Doe and Jane Roe. See id. at 12 1Ternus
Dep. 142:10-144:22]. Justice Ternus also discussed her process in conducting her adjudications
according to Grinnell’s sexual misconduct policy. See id. at 9-ll [Temus Dep. 422 l2-43:19;
58118-59:20; 110:19-111:101.

With respect to Justice Ternus’s recommendations on education outcomes, Plaintiff
engaged in extensive questioning with her about her process and the propriety of such outcomes
Id. at 13-14 [Ternus Dep. 154:10-157:181. ln fact, Plaintiff asked whether Justice Ternus knew
that Plaintiff “would be the first dismissal at Grinnell for sexual misconduct,” to which she

answered that she did not Id. at 13 [Temus Dep. 155:8-17]. What Plaintiff did not ask explicitly

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Was about the other recommendations Justice Ternus had made in other adjudications He did not
ask whether she had recommended the sanction of dismissal in another proceeding for Which she
Was the adjudicator.

Similarly, Plaintiff discussed the process of selecting and issuing sanctions in sexual
misconduct cases ln Moschenross’s deposition, Plaintiff asked her about the process for
selecting and issuing a sanction in a sexual misconduct case See Exhibit F at 2-4 [Moschenross
Dep. 115:17-121:18]. Moschenross who is the Grinnell employee who selects outcomes in
conduct adjudication cases, was also asked about her trainings and probed about her
preconceptions and alleged biases against respondents and toward complainants See, e.g., id. at
6-7 [Moschenross Dep. 152:11-156:91. Plaintiff asked whether Moschenross was aware that
Plaintiff was the first person dismissed from Grinnell since Justice Temus began as an external
adjudicator, despite the fact that others had been found responsible for sexual misconduct to
which she replied that she was not See id. at 5 [l\/loschenross Dep. 144:5-201.

ln Voos’s deposition, Plaintiff asked Voos about a compilation of data found by a survey
conducted by Grinnell on sexual misconduct and specifically asked whether there Was “any
concern . . . that segregating out Judge Ternus’s outcomes would show that she Was issuing
harsher sanctions than had previously been issued in student conduct board cases.” Exhibit D at 8
[Voos Dep. 187:1-6]. Voos replied that that was not a concern because Justice Temus “wasn’t”
issuing harsher sanctions Id. Voos also testified about a case that Grinnell had adjudicated in
which a person was found responsible for sexual misconduct but was not suspended or
dismissed See id. at 4 [Voos Dep. 41 : 14-42:21. Plaintiff did not take the opportunity at that time
to ask about other students found responsible for sexual misconduct the sanctions recommended,

and the outcome ultimately received Asberry was specifically asked about dismissal as a

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sanction and whether other Grinnell students had been dismissed for sexual misconduct See
Exhibit E at 6 [Asberry Dep. 165:11-241. Asberry stated that she did not know. Id,

Clearly, Plaintiff had the opportunity to ask both Justice Ternus and Grinnell personnel
about the decision-making and sanctions process and the alleged pattern of decision-making ln
fact he did so. Any additional information that Plaintiff would glean from the prior conduct
adjudication decisions and sanctions recommendations for other students Would be, at best
cumulative This is not a basis for Rule 56(d) relief.

V. The alternative relief Plaintiff seeks is unnecessary and should be denied.

ln an alternate request for relief, Plaintiff requests that the Court grant him leave to file
supplemental briefing after receipt of the OCR materials or Ternus Opinions. l\/lotion 1111 16, 23.
F or the reasons discussed above, this alternative relief is unnecessary at this time lt’s also
premature lf Plaintiff determines after receiving Justice Ternus’s opinions and the OCR
documents, that a supplement to his response to the motion for summary judgment is necessary,
he may make an application to submit supplemental briefing at that time Until such time,
Plaintiff’s request is based on pure speculation as to what he may or may not uncover in the
requested documents, and is an insufficient reason to impede full briefing and submission of the
motion for summary judgment Plaintiff’s request alternative relief is inappropriate at this time
and should be denied.

VI. Conclusion.

For the foregoing reasons, Defendants request that the Court deny Plaintiff s Rule 56(d)

Motion and enforce the deadline for resisting their motion for summary judgment

/s/ Frank Boyd Harty
Frank Boyd Harty
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CERTIFICATE OF SERVICE

l hereby certify that on October 5, 2018 l electronically filed the foregoing document with
the Clerk of Court using the ECF system which will send notification of such filing to the
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